 

 

EXhibit I

Case 6:14-cv-00052-NK|\/|-RSB n Document 37-4 Filed 03/20/15 Page 1` of 20 Pageid#: 562

 

 

Totai Sorority l\/iove l ls it Possible That There ls Something In Between Consensual Sex Page 1 of 19

 

COLUMNS NEWS PHOTOS VlDEOS CONTESTS T|~EEWALL MORE SUBMlT § Q

Horne >~ Co!umns » fs ff Possfb¢'e That ihere fs Svr.-)ei.hirig fn Between Consens:laf $¢=)r.¢tnd f\‘a,oe.‘ And That it Happens ToA/masr Every Gin' O:r: Ther'e.>

 

TRENDINGTODAY _ ls it Possib|e That There ls Something ln
1' i's“at°¥*.;°?le“é:?.t“°F'"°'"'sT”“"`B”°“`e' Between Consensua| Sex And Rape...An_d

2‘ E'L:‘iiltit*.‘.‘i§““"B*‘“"'”P““Ne"e'H”e' That|t Happens To A|most Every Gir| Out
3. This Letfer FrDm The"American Sniper's" The re?

Wlfe On TheirWedding Anniversary Wi||

Actualiy Make You SOb
§ hot piece of TSM C) 172 @ 6 months

4. 47 Orgasm Facts That Wi|| Literal|\,l _Change .
VuurLife fghare y Tweet @ Pin wi Emai[ lé l\iice Nlove

5. The Top 25 Teams in_ Co||ege Basketba||.
Ranked by P|ayer Hutness

 

POPULAR COLUMNS

When You Love Scmeone |n The Mi|itary
ShutUpAnriRend

 

11 Exam Drinklng Garnes That You Need |n M
vour uf'e AsAP
Yealw kaywhat

 

 

   

 

 

 
  

Every S|eep-Deprlved Thc:ught Ynu Have . . . . _
While Cramming ForMidterms, Exp|a_ned l I rolled out of bed around noon that day, m celebration of it being Saturday. After no fewer

ay Lorelai and amy Gnrnere _ _ _ __ __ than 13 hours of drinking, l ended up at my friend Matt’s house. I had been flirting with
C"°`“"“ M°"*e'““““' him all night»and arguably all of my college career.

 

24 Things C}n|y Dlsney Princesses
Understand
wm piece nrrsM

I-Ie wasn’t traditionally good-looking but he was a notorious channer with some serious bad
boy in him that made him weirdly hot in a not-hot way. Even though we’d been strictly
platonie since we met, 1 always felt a twilige'of secret excitement when I had his attention, so
when l found myself having a heart-to»hear't with him in his bedroom, I felt a weird
combination of emotions. Part of me felt as if l was 15 again. l was excited and nervous to be
thei'e. l was hyper aware of my body, and of his, wondering, maybe even hoping, he’d kiss me.
Anothel' part of me felt that this was mong. Not in an “it’s wrong, but it’s hot and Scandalous

 

10 Fashion Trends \"ou W`l|l Definite|y
Regret Sorne Day
dannuggel

 

 

The Top 32 Weirdest Places To Have Sex
vee|\ol<a‘,'wh:.t

 

%&B9/%€31*§&\6}?§9[?&;&'&%%7§§1%OR?£BIHB@-h§@le€tS_E<lla@iil§{§_%li§a»t’eea€cgneél?&ai?_agsicis;z$)§§

 

 

Total Sorority -Move | ls it Possible That There ls Somcthing In Between Consensual Scx Page 2 of 19

 

The Top 25 Teams_ ln Co|lege Basket_ha||,

and I still want to do it" way-wrong as in not right, wrong as in uncomfortable This was not

 

Ranked bv P|ayer Hetness
2NO`E'BrukeC-`r¢ la

 

 

Litera||y, No` One Wants To HearAbout
Your Spring Break Diet
YaGalSa|

 

 

The Pros And Cons Of Living With Guys
EhutlloAr\dRead

 

The 6 |nstagrams ‘(ou‘|| |nevitab|yTake On _

Sprlng Breai<
lE-.vimverims

 

 

6: - - - -
tate/toeis§h£%°£§v§a“a/§§

a guy I wanted to get involved with. This was a guy who’d had anonymous girl after
anonymous girl in and out of his bedroom since we were in the dorms. 'l`his was a guy with
whom l’d had countless conversations about his inability to care about women, romantically.
This was Matt. He interrupted my inner cont`lict with something that would have way more
weight years iater.

“l feel like you want me to make a move, just so you can tnrn me down,” he said.

Before l even had a chance to decide if he was right, we were making out, ln my state of
extreme intoxication, my mind was racing in search of a decision. This was exciting. This was
fun.'But this was also really, really weird, and ultiniately, not a road l wanted to go down. l
couldn’t decide if the excitement and lust in the air would win over the pit in my stomach lt
wasn’t until he grabbed a condom that l reaily knew how t felt. I was not okay with this. l did
not want to have sex with him.

Butl did.

l-le siid inside rne and l didn’t say a word. At the time, l didn’t know why. Maybe l didn’t want
to feel like I’d led him on. Maybe l didn’t want to disappoint him. Maybe l just didn’t want to
deal with the “let’s do it, but no, we shouldn’t” verbal tug-of-war that so often happens before
sleeping with someone lt was easier to just do it. Besides, we were already in bed, and this is
what people in bed do. l felt an obligation, a duty to go through with it. l felt guilty for not
wanting to. Iwasn’t a virgin I’d done this before It shouldn’t have been a big deal-it’s just
sex~so I didn’t want to make it one.

l stated at the ceiling the whole time, occasionally flashing him the fake smile renewed for
people you accidentaily make eye contact with in the grocery store. l don’t think l moved the
entire time, and I didn’t care if he noticed l just wanted it to end, and l knew it wouldn’t be
long. l just had to suck it up for a few minutes, let him do his thjng, and it would be over.
When it finally was, he smiled at me, kissed my forehead, and asked how it was. As we
cuddled, l realized that what we had'done was no different to him than the sex he’cl had with
anyone else. Overnight, l convinced myself it was no different to me, either.

I woke up with an “oh shit" feeling that quickly turned into an "oh well." l didn’t really feel I’d
been violated, though part of me knew I had. l wasn’t mad. I wasn’t hurt. l didn’t want
vengeance. l didn’t even feel weird around him soon after` l didn’t feel much of anything I
certainly didn’t feel like I’d been raped. But what had happened the night pn'or was not
consensual sex, and l didn’t like it. l wanted the tlirting. l wanted the kissing. l wanted the
sleepover. But l didn’t want to go all the way. And that’s very hard to explain to a man who is
just as drunk as you are.

There is not a word for my experiencel ’I`he fact that there’s not a word for it makes ns feel like
it doesn’t exist. Or maybe there’s not a word for it because we’re pretending it doesn‘t exist.
But this weird place in between consensual sex and rape? lt’s there lt does exist. And it’s
happening all the time. As it turns out, almost every woman l spoke to had been there at
some point or another:

“To be honest, it would have been awkward to say no, so l just did it.”

“l` don’t feel like it was a huge deal. Sornetimes you have to have lunch'with girls you don't
want to have lunch with, and sometimes you have to have sex with boys you don’t want to
have sex with. Maybe you’re pissy about it right after, but it doesn’t affect you long-term, you

know?”

"He was really drunk. l-le had no way of knowing l didn’t want it.”

tipstatesestates5.'§i'a%aai§.%l§a»taaeassaultssseems

Total Sorority Movc | ls it Possible That There ls Something In Between Consensual Sex Page 3 of l9

lt happens to us with consistent hookups, first dates, boyfriends, and one-night stands alike_
We have sex with guys, because sometimes it’s just easier to do it than to have the argument
about not doing it. But no one talks about it. Talking about it makes it a big deal. lt makes us
feel like we’re whjn_ing. lt makes us feel like we’i‘e being dramatic. And we don’t want it to i)e
dramatic. We don’t feel entirely violated lt doesn't affect ns forever. We just feel like we got
the short end ofthe stick, and that sometimes, we have to do something we don’t want to do,
out of politeness or social obligation So why bring it up? Why risk wrongfully tagging a guy
with a serious, heavy label he doesn't deserve? And more iinportantly, why risk being
wrongfuin tagged as “the girl who cried rape,” when we’re not trying to Say it was rape at all?
We’re saying we cl.on’t know what it was. We just didn’t like it. But by refusing to acknowledge
the existence of these rape-fsb situations, we’re continuing to subject ourselves to them
indefinitely

 

flange via Slmrrersmck

1I:Share y Tweet @ Pin § Email 5‘ Nice Move

 

hot piece of TSM U z

l-iot Plece (@VeronlcaGrandexl is the Director of Tota| Sororlty Move for Grandex, |nc. After
having spent her undergraduate years drinking $4 double L|Ts on a patio and drunk texting away
potential suitors, she managed to graduate with an impressive GPA and an unimpressive
engagement ring -- so unimpressive, in fact, some might say it's not there at a||. l~|ot Piece has
since been fulfilling her duties as "Ameri<:a's hig," a title she gave to herself with the help of her
giant ego. She has recently switched from vodka to Wine on weekdays. Ernai| her at
veronica@granclex,co

More From hot piece of TSM )>

 

 

 

  
   
 

BYR

 

l secs hess

 

 

 

We Recommel'\d Sptmaored Llnks by Taboula

Yoa NEED To See These 20 Pictures of Kobe Biyant With Wifc Vanessa Bryant Through
Rnnt Sports

87 Yr Old Trainer Sharcs Secret To Losing Weight

.~\thlc.lit' (]rt\\\is

What the Bible Says About Money {Fascinating)

Nv.wsrnax

l)rivers I"eel Stupid l"or Not Knowing ’l`his Ncw Rule

Fro\'ide~Savings insurance Quotc<

1 Dii'ty Little S_ecret 'i`o Eliminate 15 Years Of Mortgage Payments

l.ouer.'\l_\=l§iiis

§a§a/eet'a\saé}iie€e\.t%w§§§poassessmentsEaeetas!saileweaean@taaaeagseems

 

 

 

Total Sorority l\/Iove | ls it Possible That There ls Sornething In Between Conscnsual Sex Page 4 of 719

Forget the iPhone 6. Next hit Apple product revealch
"fhe .’rio‘l|ey Fool

COMMENTS

You must be logged in to commentl Log in or create an accou nt.
southerngir|2294 Thank you so much for writing this. l had something like this happen to 229
me my freshman year, and a while later l started dating another guy. l
eventually opened upto my boyfriend at the time about what had happened, explaining
that l felt like l got raped, but at the same time l knew it wasn'l_: RAPE. He accused me of
being the "gir| who cried woif" and broke up with me then and there, and then proceeded
to tell the guy that raped-but-didn't-rape-me-id k that l was going around telling people
that he raped me (which Ewasn’t, nobody knew that him and l had sex besides me, my big,
and my later boyfriendl. Thls is an issue that needs to somehow be addressed because l
know l'm not alone when l say that there’s nights where l just break down and cry because
l'rrl not sure how l'm supposed to feel about sleeping with this guy 3 years latez'.

 

 

 

t This c Bless your heart ~ Reoly o 6 months ago

 

hai hi'é§§Si"r_slvi"l"l{i§`brry to héiilhai, and l definitely do think its an issue. 133
You're not alone. l'd really venture to say that most women

have an experience like this. lv'laybe different detai|s. Zut you didn’t say no.And

§ you're not mad at the guy. and don't want him to get in trouble. But it left you

l feeling uncomfortablel l think starting a dialogue is the first step, but l don’t have

l any idea what the possible solution is.

|

l

 
 

Stai"f

' " This - Bless your heart c Reply c 6 months ago m

 

' Yonce | think the best solution is education on affirmative enthusiastic 7'01

consentl Understanding that consent to one thing means consent
to ONLY that thing Any time you wantto escalate fz'om one
physical/sexual act to another (e.g. from getting in bed to having sex},
then you need to ASK your partner. if your partner clearly wants to have
sex as much as you do, they’li indicate it either verbally or nonverbal|y
and that is consent We should emphasize that insteadof going for the
baseline of a barely "yes" or a go along to get along type of responsel that
we want our partners to clearly want it as much as we do. Then the sex
will be consensual and more hot.

 

Big

 

mwm3.Ii:is:,l§lse..tsy.!;.l.isan:B§-;i=lr: é.nfa!ifilsase…

 

   
  

it pau|.mortonD@gmali.com unless of course both parties are d.rlinl< 2 7
., § offthere asses f|lrt itup end up having
PNM‘ sex. and in the morning 1 if not both realizes oh, shitl ijust got
raped last night, because l was menata||y incapasltated by alcahol,
and that girl should have pointed out how drunk i was.

ii

" this v B|ess yourheart o Reply ~ 1 month ago

TheFratTrap "You're not mad at the guy and don't want blm to get in -8
trouble." `

macka One of the issues with rape legislation being taken seriously is you girls

ed say shit like this. No one is going to take you seriously if you even Consicler
pulling the rape card over some pettyjea|ousy shit. Fuck off, and let the
actual rape victims be taken seriously, because they should be afforded
the opportunity to go before ajury without the burden of having to prove
that lt isn’t a bullshit publicity stunt.

   

_-m_mv_ilbl§.:steiner_‘Fs-"il.?€_:_'¥§l?lttwentyHSC.'__.M s ,

 

 

§§$§};”F§ GarnmaPhlnestlB?¢l § think the cause of this situation girls not being -83
§ ' wl very self aware and not realizing how `
uncomfortable they are until it's "too late". it's certainly a lesson to be
learnedl about notjumping into some what risky situations

G-Big

 

 

%l?t§)iZ//?dfbisgibggron§gv§i:<cid{/Bs§§pols)sil§id[ll%ii-ttlidredfis-'§iilerfcidi§i§-Cihl§etyiié§lec§r%b§§lalp.§§ @lqi$}’$§§@

 

 

Total Sorority Move | IS it Possi‘ole That There IS Something In Between Consensual Sex Page 5 of 19

§" Tl'iis ¢ Bless your heart » Rep|y ¢ 6 months ago _____ l

 

once Why is the ones only on the woman? Sex is a two part 60
responsibility. lt is the responsibility of the advancer linen

ala or woman) to ASK for consent and not make assumptions Once
asked, it is the responsibility of the other person to give consent
or not give consent.

  

 

"_"_i_hls v__ Bless your heart * Reply c 6 months ago

 

 

' ariasummers lt s not anybody' s job to aska rst. lf someone 36
c says, Here have some water." And you take
mg it and drink it, did that person force you to drink the water
because they didn't ask if you wanted it? No. lt you bad
said, "No l don't want the water." and then the other
person poured it down your throat, then they forced you
to drink it.

  

" This l Bless yourheart l Reply l omonths ago

 

  

chavala As someone who has been sexually assaulted l 13
can openiy say that you are wrong. What you have
MN‘:“; said is the same as when people say that a girl shouldn't

El‘l'l E

have been drinking if she didn t want to get raped. Stop
blamlng the victim.

" this - Biess your heart c Rep!y l 6 months ago

 

 

 

, johnnyd So What you're saying is that a girl can be drunk 61
; and not be held responsible for her poor decision
mg making under the influence of alcohol, but that if a man
drinks he' ls totally liable for every decision he makes
under the same influence of alcoho|?

Gotcha. You are basically saying women are helpless and
cannot make decisions on their own_ `

The bottom line is that if alcohol is a factor in these cases,
neither party is responsible7 or both parties are
responsible Equal|y. No one is victim blaming. But if a
woman is drunk and she doesn‘t want to take
responsibility for actions or decisions made while drunk,
then she is not responsible enough to drink. Period. Same
goes for men. `

 

" This l Bless your heart - Rep|y ' 6 months ago

 

 

secondw§fe Beingd_runl< can make you unable to help -2
yourself in a situation where you can get taken
NE“' advantage of, but it's not an excuse to force yourself on
Mernbe , .
r someone who can t help themselves Maklng excuses for
people who do so is equally abhorrent

 

" This - B|ess your heart - Reply - 3 months ago

 

 

Tltan284 The bias here is incredibie. -5

 
 

MNE";€ “` This o Bless your heart o Reply ¢ 6 months ago

l'

 

 

 

z marymaicolm Reading through this made my stomach twist. Flrst off, l'm so sorry 5
you went through this. All of you. Anyone who has gone through tbis.
"NEW Blanl<et l m sorry here. Second, this was note case ot rape 'ish behavior, this was

t Mami;sr rape With that being said. l m not saying all rape should be treated equally This

t guy doesn 'tdeserve to spend the next ten yeaz's of his life locked away in prison. He
doesn't deserve being branded a sexual predator for liie. He does deserve to know
that what he did was Wholly unacceptable Consent is not always actual§y saying

l the word ‘no,’ if a girl is lying there. not moving, not making eye-contact, she's

teiling him no. He treated sex with her as if$he were a hole in the wali and that’s
definitely not se><, that's rape

 

 

He§ar§ééiésté/a?§lli§€éNMIB§GOSQBQJM%§MS S'élisétl£?§§?ii?lli>§rw€aoeoasetl&@¢l-EGUrenew

 

 

Total Sorority Move l Is it Possible That There Is Something In Between Consensual Sex Page 6 of 19

`What makes me so sad is that there's a big chance he was never told how
mm €nere is a mg o lar ice it wu happen
again l\riaybe not between them but definitely with someone else. You ask what
should be done about somethinglike this, it should be talked about. The guy needs
to be told what happened wasn’t right Other people need to be told this behavior
isn’t right. Until we all decide that this is definitely not right, lt will keep happening
What socks is E think we've ai| decided it, but we might still be afraid to actually say
the words. l'm so glad you spoke out on here because it started a dialoguel but the
next step and probably the most important is that he l-lAS to be made aware of
what consent is and what it isn’t. Rape is sex without consent. This WAS rape.

 

 

 

" This o Biess your heart 0 Reply ¢ 6 months ago

 

 

Andree l-luge disagreel Rape is a felony crime punishable by prison time. 68
You cannot change the definition of a criminai offense like that. lt

triviaiizes the experience of those subjected to real rape, which is a

violent crime. 'i'h is was an incident of miscommunication, maybe

coercion Repugnant. bad behavior on his part; a learning experience for

her. But it was not a crime.

 

 

less your heart ¢ Reply ¢ 6 months ago

  
 
 

 

chavala The technical definition of rape is sex without consentl lt -2
is a crime because of the lack of consent. lt doe sn't need
Vnew to be violent. Your comment marginalizes what happened to this
M""’be' giri.Technically, it is rape. lt was not consensua|. Does he deserve
jail time? No. Does he deserve to be suspended from school or put
on probation? Yes. ln some states, the fact that she'd been
drinking would mean that she isn't legally allowed to give consent,
and it is labeiled as rape under law.
As someone who took a year to realize a sexual encounter was
actuaily sexual assault and possibly rape under new ans, l can say
that this is how l viewed my experience until l talked to the office
that helps to support victims of fape and sexual assaultl Do not
label this as a learning experience of poor judgmentl There is only
a grey area because people are terrified of labeling people that
they know as rapists and the backlash that comes with it.What
you say denies the experience of most women who have been 7
raped

 

" Thls 1 Bless your heart ¢ Repiy c 6 months ago

 

Anaree oicti@nary éii§iiriiii$n from the oEo-."'The unlawful 1:/
1 compelling of a person through physical force or
B'g duress to have sexual intercourse."

 

The important part is the legal definition, however.
because rape as a crime is a fe§ony, with penalties
including prison time,we can’tjust toss the term around
casuaily. lt‘s like redefining murder. You want a crime tol
be very strictly defined, to protect both accused and
accuser.

“ This ¢ Bless youl;_heart v Reply ~ 6 months ago

 

 

 

Mknowyour9 Whllel agree with your general sentiment (not 05

to misuse terms with both social and legat

M”;;‘;|;e significance). l feel compelled to make a slight alteration to

r your definition Yes. That may be the definition of rape in

whatever dictionary you used. The offense that can be
legally prosecuted however, is not only forced sexuai
encounters (rape), but any act that falls under sexual
assau lt. Se><ual assault. according to the Department of
.lustice. is any type of sexual contact.or behavior that
occurs without the EXPL|CIT CONSENT of the recipient
Falling under the definition of sexual assault are sexual
activities as forced sexual intercourse forcible sodomy,
child molestation, incest. fondling, and attempted rape.

 

 

 

%?t§§//§ogaisgrol@tg'?l§c?ve\.|dt)%]§§§po§sii§lgrti§[tl-ttl$e;bd'is-Ed§idth§{§%1§€:‘£\?&§90&)@§1¥5@12119§93¥€||#125)@3

Total Sorority Movo l IS it Possible That There Is Sometbing In Between Consonsual Sex Page 7 of 19

“` This v B|ess your heart \ Rep|y - 5 months ago __ _ i

 

 

paui.mortono@gmail.com did he the accused rapist, actually 1
l . verbally consent either, if going

l FNM by What you are saying then both raped each other, being a

§ mutual agreement to have sexual intercourse then it is no

i

i

i

§

   

longer rape, but a bad desision.

" Thls ~ B|ess your heart v Reply o 1 month ago

 

 

 

 

TigerC|aws No where does the author state "Matt” applied pressure 25 §
physicaily forced her to have sex or had sex with her while
she was incapacitated No where did she say she withdrew the non-

verbal consent she gave him. '

What l am aboth to say will be unpopular. but it is the truth. if a woman is
incapable of saying no except under threat of physical harm, then she is
mentally a child. And these women do a great deai of harm to adult
women who seek gender equality They spread the message that women
are incapable of being an adult and expressing what they want or don't
want.

" This ¢ Bless your heart - Rep|y ~ o months ago

 

knowyour? There are two things l‘d like to respond to in this post. 1
One, she did mention the fact that, although she never

actually said the word "no." her body language was not that of

M‘“"i”i' someone giving consent "i stared at the ceiling the whoie time,

occasionaily flashing him the fake smile reserved for people you

accidentally make eye contact with in the grocery store. l don't

think l moved the entire time, and l didn’t care if he noticed."

 

Second,<the idea that someone who is incapable of saying not
except under extreme duress is somehow childiii<e is misguided to
say the |east. There is extensive sociological and psychological
research that actually shows quite the opposite Although
scientists these days disagree about the degree to which biology
affects sex roles, everyone agrees that cultural attitudes,
metaphors, discourse, and beliefs exert an immense influence on
how people view themseives, their relationships and their
sexeaiity. Overwhe|rning support exists that substantiates the
social theory that women iearn to belittle or ignore their own
judgment especially when it opposes with that of another. Women
learn far more than men the significance of pleasing others.
concentrating on the needs of others even to their own detriment,
not hurting or embarrassing others, avoiding conflict, and not
“making a scene" or embarrassing themselves

All this socialization systematically affects how women act and
react in situations that can result in sexual assault.Women who
have experienced a sexual assault often reported a fear of conflict
or social embarrassment prevented them from acting decisively
after they had said no and were ignored.When contemplating
their attack after the fact, many women even report that they
simply ignored their initial sense ofdiscornfort or danger, and as a
resuit may have missed a chance to fight back or escape, ali of
which We can see in this anecdote. `

 

" Tnis c B|ess your heart ~ Rep|_y l 5 months ago

 

 

Mernher

 

 

` thorough the words here

Titanéad. |f one thini<s tbemse|f the victim. he or she will be a victim. lt's 2
painful reading the subconscious insecurit'¢es of many manifest

`_f:l'his 0 Bless your heart ~ Rep|y - 6 months ago

 

 

-- pau|.mortono@gmai§.co"n;hey. before you go pulling the she didn’t -1

 

k w them did. secondly, they were both drunk and didn’t have clear heads,

consent, you should reailize that neither of

 

§e§s/&iefs&\s@@?r§£ré¥t$i{lrl§§§m§§thtsilii?e?aéis-tdisdn§!g€iiilb"ant’@aae&sae@au?aosida-2569

Total Sorority Move | ls it Possible That There IS Something In Between Consensual SeX Page 8 of 19

PNM again neither of them had the ability to make proper descisions.

vvas this r , go use °

they were drunk, wait the girl ilirts up till sex starts. then in her head
changes her mind, expecting a drunk of‘f his ass boy to notice during sex.

 

gbe:"§!se_teeuze:§ ' tear stem ago - §

 

 

marymalco|m Sorry, that should read ’iack ot" consent is not always 7;67
actual ly saying the word 'no.' Fast tingers, slow brain.

      

. ~Sv- .r
New
Nlember " This c Bless your heart \ Reply ¢ 6 months ago

 

 

 

¢Cap\taii"smt“:ée;ti;n-ia;iitis” whateverj the campus feminazi group tells you it is. -66
They want you to question any type of male contact
because they can't get the kind of guys you can. AE| those workshops and flyers

  

Blackballe
a slowly create doubt in your mind. The feminazis are angry and depressed inside

and rnay|:¢e they feel that if they can make you feel like them their anger wiil go
away.

 

" This v Biess your heart o Repiy v omonths ago

Red Wine and B|ue Another issue that's“happened to me is thehewdeflnltloh“ot“‘mi\io';w|w_17£
feel like guys think when l say a blatant no it's just me being coy, not a
denying of consent. |‘ve had guys that l’ve had to repeat no to too many times before (ifi

 

 
 

B|s y
/ can) getting up and leaving wherever we are, which l really don't think should happen. No

means no the first time.

 

" This o Biess your heart c Rep|v v 6 months ago

 

 

hot piece of TSM iagree'. And | considered having this piece include that. but l 99'

think it was just too much to force into one column. l might write
another at some point about playing hard to get and the double standard, the
feeling we're not ailowed to want it outright, kind of leads to guys not believing
you when you say no.

 

‘A
S\aff

" Thts o Ei|ess yotic_heart v Rep|ym¢mo months_ago

 

BeautyancitheBar When l teli a guy "no"_in bed, that doesn't mean "try harder" or BO
that l'm playing hard to get. Giris might play those games over

text, but l think l can speak for a large majority of women when l say that we

aren't playing those games in bed.

 

 

" This: B!ess your heart v Repiy v omonths ago _ 1 m

 

Daesntiyiatteril 11 |’ve had multiple women say "no" when we'd be 62

making out and l'd make a move or something similar,
and they would sound serious about it. | always back off after that, it's
how l was raised. However, in half these situations, after l would stop and
suggest something else to do, or even immediately after l backed oft
sometimesl the woman wou§d say something like “oh, l actuai|y wanted
you to keep going" and a coupfe actual!y left because they were like "you
should have known i wanted you to keep going" telling me l need to be
more manly or dominant or some crap. And this is not a one time thing,|
can guarantee othezr guys have had multiple women do this stuff to. So,
yes, a decent amount of women ARE in fact playing these games in bed.
i‘ve been with women who actualiy had rape fantasies, it's ridiculousl |’m
going to continue backing off when l hear"no" because | don't want a
raise rape charge eyer, but please don't be naive about this,

 

thtle

 

* This ¢ B|ess your heart » Rep|y ~ 6 months ago

kl;owyourQThisTdeaof mascu'linity.is interestingl andi respect 2
.V you for continuing to stop when a woman tells you no.
uaw7 (Aithough just to ciarify, statistically speaking only 2% ot reported
M°“"be” rapes are thought to be are false, and only about 5% of rapes are
ever reported This leaves your chances of incurring a "fa|se rape"
charge at around .0001%.)

     

 

Wwwm'i

%a§s/%é'at§&t£ii%§&;i\'t%itri§§§potimemata§&ae-'§iisea§i§%laaaaaearetaeaEagsheets

 

 

 

 

Total Sorority Move | ls it Possibie That There ls Someth:ing In Between Consensua_l Sex Page 9 of 19

ii think this speaks a lot to the male perspective on the issue of
L§R'C|311'm'|Ii'tT'€iiTh'ii€T‘iTEW'EVP"?`<`JT-l_a`?§incere in your account or
experiences with women land their perception of what it means to
be a "man"), it is important to remember two things:

 

 

1. That your sexuality, man or woman, is up to you to define.
Peopie often forget that men too experience the social pressures
to conform to a certain image or conception of masculinity. |f that
image, in your experience does not align with what is ethical (and
LEGAL). then alter your behavior. Other people will toiiow - this is
the nature of social change within any given society. in this way
-men too can help to eliminate unwanted sexual encounters

2. That while l respect the fact that you have been put in situations
that seem to promote this idea that women want to be violated,
want a "rea|" man, this conception of sexuaiity is not only
misguided. but dangerous it promotes the myths surrounding rape
and sexual assault that make it so`difficu|t to address For example
if an accused rapist says that he thought the woman had
consented. he may have believed that consent is implied when a

\ . woman dresses in certain ways, drinks, goes to a man’s room.
shows that she iikes the man, allows him to pay for herdinner, is
affectionate, is sexual in any way or is known to have been sexual
in the past . Such notions have some cu!tural currency, and many
men have been educated to embrace these prevalent myths of
consent as tact. Even'if an aggressor realizes on some level that a
woman did not consent. he may still believe that the "po|iticaiiy
correct" version of consent is not really important for good se)<. lt
is often taken for granted. accepted as common knowiedge, that it
is the man's role to be dominant, that women‘s objections should
be ignoredl and that knowing that "no" really means "yes" is all
'part of the game.” Such sociaiization cannot forgive the violation
of women, of course. The point is oniy that one must take it into
consideration to truly u_nc|erstand,for examp|e, how a man can
assault a woman while at the same time believing that he did
nothing wrong.

 

f_i_ili§.:_?iss§rs sssr£t“se'r 5

 

 

23thirty That is definitely bordering on rape territory and, in my opm$n, that 36
dialogue should most definitely include guys. Whenever you hear a "no"
th at's it, stop.

 

New
Member

 

" 'ihis o Biess your heart a chiy c omonths ago

 

DjDuds l feel Eike what you should be campaigning for here is for girls to know that they 113
can have courage under any circumstances To know that no matter what’s

already happened or what position they find themselves in, they can always say no. Most

of us guys out here wouldn’t want to have sex with you if we knew it wasn't going to be

enjoyab|e for you as wei|.

 

But if you go through the entire process: fiirting, going to his room, having a heart-to-
heart, making out with him, getting in bed, and then having sex with him, all without EVER
saying you are uncomfortable or telling him to stop, then that |5 consensual.

l agree that this story plays out frequently. and l hate that it does, but it's not a rape grey
area. it's not rape at al l. if something's happening that you want to stop. then you have to
say something. Men, believe it or not, cannot read your mind. How was Nlatt supposed to
know you didn’t want to go th rough with this? '

 

" This ~ Biess your heart » Rep|y ~ 6 months ago

 

 

hot piece ofTSM No ones blaming Matt here. That's the point |'m not even 101
saying, in my.case, it was a fear thing. |c§o not blame him at all.

And that’s the whole point. Not that it was a gray area. This lS different from

rape. But women find themselves in situations where they have sex when they

don't want to. And maybe it's because they're being a people pieaser or don't

wand to be cal€ed a prude or whatever. The point is. sometimes we ALi_ do things

 

 

tiss/tai;iat?t€aae§Mais§tp@sasesta!aaaSsiseaa§@iuas@asatetaa-assignee

Total Sorority Movo l IS it Possible That There is Something 111 Between Consensual S... Page 10 of 19

lime don't want to do, it's just weird When it happens with sex. THlS experience is
ina?dly`sTEMDout.

 

 

“ Ti?i_$,._°,§l$’§.§.

t.,...

Wisimonths aggw _W_~

 

       
  
 

 

elin9 ‘{ou calied"ithravpe lshwhlchwouldrnean rape like anmhat s the 19
farthest thing from the truth. |twas consensual with regret for not
' saying no. l

   

,,:Ii‘if‘.,‘. F'liii§§ Y°"" heart ’ Rel"V ’,5 l",‘,’l‘§i)§j‘§°.

 

 

2fratty2fail So the grey area, where you don't think he is to blame but you -3
do feel violated. isn’t that like accidentai manslaughter? |’d
cali this nonconsentual, noncriminal sex lor something way more
Member eloquent). Aiso l agree with the intent of your column; we need to create a
more expansive vocabulary for sexual encountersl The confused feeling
you have, as you alluded to, is because the nature of situations like these
are rarely verbaiized. |f we can come up with a definition for this, we can
better discuss it. Aiso on the verbal yes: by the letter of the law in most
states a verbal yes is necessary to establish consent However, to expect
this of everyone In every situation, is terribly naive and actually
counterproductive lf you hold people to this standard, rather than a more
reasonable one, we will continue to miss the mark Rape is one of those
things where you know it when you see it. lt's tough to voca|ize, but by
insisting on ridiculous standards, you further confuse things for the
layman and Women. This is the same problem with saying that any drunk
sex is nonconsentuai. Doing so sets such ridiculous standards that it is
actually counter productiveI Unfortunateiy. most ot our vocabulary about
sex is either legai in nature irape. sexual assau|t, etc.} or too ambiguous
(hool< up, etc.)_ Thank you for writing this coiumn. Hot Piece. By
continuing this dialogue, you’re getting people to think about this issue
more deeply and helping people to vocalize their own experiences |f we
keep doing this, eventually we may be able to define these sorts of
interactions and give women and men guidance on how to handle them.

  

 

"_ This o B"!_ess your heart {Bepl“y 0 6 months ago

 

'- pirates_and_pearls You're right, it's definitely not Matt's fault, and it's definitely 74
not rape, but the author is in no way claiming that it is. | think
what she's saying is that a lot of times we feel like we can't say no because we'|l be
considered a "tease." |t’s happened to me before as wel|. and l obviously know
that | was not a victim of rape. | think that girls regretting having sex and crying
rape after the fact is a serious issue, and it is one that has been previously
§ addressed on this site. But this is a different issue entirely. |t'sjust super
uncomfortable because'even though these guys aren't forcing themselves on us at
all, we don't feel as if we can speak up because we feel some fucked up
responsibility to have sex with them after doing other things with them. l recently
had an encounter where a guy.tried to get me to do certain things with hirn, and
my response was "| don't feel comfortable doing that since we just met, l'm really
sorry." But sorry for what? Why do we feel the need to apologize for not wanting
to give a guy a blowjob or have sex? Peop|e are so caught up with ending the use-
of words like “bitch" and "bossy", but l think we should stop referring women to
teases. l think that word does more damage because it’.s what's leading to these
feelings of pressure to do things We're uncomfortable with. l

 

 
 
  

      
 

   

raths a srurvivmc)“r“of rap . y u aying that._li"iatt`cou|dn’t d 49
read her mind, so unless she made some sort ofindication that
she didn't want sex. it's not anywhere near being in a "gray area.”

 

Brat urne

thl|e

l understand that we might have sex that we didn’t want necessariiy- The problem
is that we need to express our opinions zather than stay silent, ln a perfect wor|d,
it would be simple and understood l-iowever, it's not perfect.

Rape is not a color scale issue - you either are or you aren't. lt’s not a fun feeling
to experience sex you didn’t want, but it‘s up to us to try and change this by
expressing our feelings upfront.

 

 

Cil §§/Edi'azi§gt/olgl%’OrrBlg\_/le\|.i:<o|\I/ii)i:t»§l§po[s)siib;l`é[[tll?dt:[tiigféis-'§li§tttpliti§-Cihl-§et\|ii@&@ci)i]!a@h§ial-.l.:ia@¢i@il§6532

 

 

 

Total Sorority Move | Is it Possible That There ls Something In Between Consensual S... Page ll of 19

§
§" This o Eiess your heart » Repiy l 6 months ago _ i

 

- Yonce What you are saying above is a rape myth. Flirting does not mean consent 45

to have se)<. Making out does not mean consent to have sex. Heck, even '
getting in bed does not mean consent to have sex. Someone could just want to
make out tor the sake of making out, Or get in oedjust to cuddle. And guess what?
lt's really easy to find out if someone Wants to have sex. A|| you have to do is ask. |f
they say yes, there’s your consent. lfthey are siient. that is not consent lf they
look away. that is not consent. |f they say no, that is obviously not consent

 

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" Titi.?_;§!£$§ Vou" head ‘ ReP'Y ' 6 it£i‘.tl}$i€?. A_ _ __

 

 

Geaux_No|a The problem is that you*re putting the onus of asking on the 1

guy. ‘¢’ou are right in saying that flirting, making out, getting in
bed. etc. is not consent. But. if you don't give any indication that this isn't
Membsr what you want, it's kind of hard for a guy to know what you are thinking
From my female friends asking girls if they want to have sex as opposed to
intuitiveiy making a move §s seen as a turn off.

 
 

in a perfect world we would ali know What someone else is thinking but as
someone else pointed out, there's not iawyers with consent forms ready to
pop up whenever two people are getting intimatel

 

" This v Bless your heart ¢ Re|)ly - 6 months ago

 

Yonce Asking isn't the onus of the guy. it's the responsibility of 15 1
_ the person (guy or woman) who wants to escalate the

l situation There are times rny guy hasn*t wanted to have sex
because he was_stressed, tired, etc. n‘l hadn't asked him,l
wouldn't have known. Asking is the only way to know what
someone wants since, as you pointed outl we can’t read each
other's minds instead of pushing, pushing pushing until someone
says {or indicates) “no" or gives in, we shouid approach sex as: l
want to have sex. And § really want my partner to have sex `
without feeling like l'm pressuring them in any way. 50 |’m going
to ask instead of pushing until they say "no." in the end, l'd rather
be safe than sorry by asking And asking CAN be sexy. lthink it’s a
total turn-on when my guy asks me. lt you still think that asking is
un-se)<y, it‘s not as un~sexy ior rapey) asjust assuming that the
other person wants the same thing as you do and then pushing
them too far.

 

 

" This_¢ B|ess youl‘liean__i: v Rep|y o 6 months ago

 

DeEtaBelle This hurts my heart to hear women honestly say this, As a woman, we 24
have the tight to say stop at any pointl No one has control over our

body's but us. ff a women never says "Yes, |et's have sex" that is by law rape. And

even if you never want to cry wo|f, you still feel the shame and vioiation. The

worst thing you can ever say is "you should have said no." Matt couid have easily

said, "Are you okay with this?" Rape is NEVER the v§ct§m's fau|t.

 

Hypothetica||y, a woman was fine§`ust kissing aman and passed out. She awakes
the next morning naked and husting from having non-consensual sex while she
was asleep. But by your definitionl that isn’t rape?

 

" This o Btess your heart v Rep|y ~ 6 months ago

 

ariasummers This is a myth. lf a womensays ‘No,’ it is rape. There have 12
been times when | never said yes because they didn’t ask
me. but it doesn’t matter, because they didn’t force me.

 

_N_W’;_`m|'_|ji"sm¢_Bless your heart_:§eply - 6 months ag_o___"

  

 

‘ eilyé"?Not y aw rapeataill‘-Ftape is non consensual unless the woman -4
says no or indicates a lack of consent then how is it rape? l was

having sex with someone l wanted to but he wanted anal. Me te|iing him

no and him still Shoving it in was rape! Consensual turn non quick! lfyou

lay there and accept our even heEp him get you undressed as well as him

 

 

Clti&§/Adrérs%\ia‘?£??§i@w!.%Mntf§§-p<§§§i®itrttet&%ré-iSF§!M¢A§{?@O{A~%@tR)éet-cb¥lafn§@dl-.F?aoeips¢z§r§%

 

- Total Sorority Move | IS it Possible That There IS Something In Between Consensual S... Page 12 of 19

how is he to know got don 't want to unless you learn to open up your
mouth aho use your voice to day tne woros:

 

 

litem B.'se.tsy.£beyf ' Renr - 6 months sss

 

- miam;ieforcornmenting it's obviously not consent, becauseuswhe didn’t consent to it. 4
. She didn’t want it. She didn’t ask for it and he never asked if
she wanted it. He assumed You're completely right - MEN CAN'T READ YOUR

 

New‘
Member MiND. Or anyonel No one can read your mind. People have to buck up and realize

this and fucking ASi( before having sex with anyone She. possibly too intoxicated
to make proper decisions or possibly too pressured, didn’t speak up. But. he never
asked. Thoy were not in a relationship they did not know each othez"s sexual lives
very well ~ he had no business making THAT assumptionl lt lS a rapey grey area.

l'm of the mindset that this entire encounter needs to changel This idea of
ENTHiJS|ASTlC- consent needs to be spread around campuses, notjust this idea of
"‘| can keep going until she says 'no’. and if she doesn't say anything no matter the
clues l'm getting from her, yay me!"

if someone was staring at the ceiling and t was trying to have sex with them, l'd
stop. There are some serious nonverbai cues here.

l have a boyfriend.| love i|irting with him, making out with him, touching him. But
he always » every single time ~ asks me before we take it a step further. A |ittle,
"This okay?" with a subsequent "Yes" from me never ruins the mood and makes
sure that everyone's on board with what’s about to happen. THAT is consensual
sex. Having a drunk girl in your bed that you are kissing and then going for the
condom, not a peep from her, is not consensual.

Because. if he would have asked, she wouid have said no. By not askingl a drunk girl
that aiready feels pressure from society and everyone to 'put out' and feels as
though she was asking for it the whole time and can’t say no, won't say no.

'\ This . Biess your heart n Reply o o months ago

 

 

eE|yB<;' He was drunk as we||. Why is it his job to gain consent? Why don't 18
more women learn to use there voices and/or act?

 

 

bliss your heart o Rep|y - o months ago

 
  
 

prettykitty)_l~lave yod'i'eadrnothing on this page? lt is the 12
responsibility of the individual [boy or girl or

- whoever) who wants to take things further to ask for consentl in

"'le""he' this case, Matt wanted to take things further and was the one

who initiated it so it was l-iiS responsibiiity to get consent

sss flhi§.:._§!sa.tssuzss!tti¥sds:_ §“esett§.sssm_.a.tmae .W..`W. __m..s.‘.

 

f _ SOC|ockshadow Based solely on this column and not on experiences others may have had 69
:“-?&"“ -if you’re having an internal conflict, take the safe route and tell us no.

|Vlaybe = no. Frorn reading this l can tell it's not as easy as it sounds, but you have to. After'a

night of f|irting, going back to someone's place, & making out, how ami supposed to know

that you feel different'than the signals l've gotten if you don't tail me? [ certainly don't want

to take advantage of anyone, and it’s unfair to call a guy a rapist or a “rape-ish-ist” if he has

no idea where you’re drawing the line. l feit the need to say something because your lack of

communication can affect a guy who has no intention of wrongdoingl

Big

" This o Biessy_o_i:r heart ¢ Repm|y‘j__ho months ago

 

 

Yonce How come the sole responsibility is on the woman to say “no.” Partners 10
i should ASK each other. Consent to one act does not mean consent to

§ another. §<issing means consent to kissing. Getting in bed means consent to
getting in bed. |fyou want to escalate the situation and have sex, then simply ask.

! That takes the guesswork out of things. Btw, both partners should do this, not

l necessari|yjust the man to the womanl There have been times when my guy was

\ iust too tired ot stressed out to have sex, but would've just gone a§ong with it had l
l

l

i

 

not asked him. l asked him, he said no, and the problem was solved quite easi|y.

 

W.`jI'JLS_.:_Eissueused.diesit:m§mentb=:sssmm

|

Claas/Aaéra\¢s@ii?a%v! bur-lifeiepassessaée-iseaaean?g@iasaaaseaaonsalmanagers `

Total Sorority Move | ls it Possible That There Is Something In Between Consensual S...' Page 13 of 19

l ;1` ' SOClockShac§ow That would be idea§ if most sex occurred in negotiated 48 l
-e'--. .-s\
` nation CUHTFBET T§?fn. UHTES?TU?EYE 7, mosmi`oc_tl?§TfFfFE_-c "'

l

l 313 heat of the moment At that point, whose responsibility is it to step
forward and ask? Do we automatically assume it's the man's
responsibility? is that fair? EspeciaE|y in a "| kinda Want to but l kinda
don't" situation? |t's more reaiistic for the hesitant party tojust say, "No,"

1 and the other party respect their request

 

   

h M" This - B|ess your heart - ont_i'ijxs”a,goU _M_M

 

ncnem| pointed out in my response that BOTl-i partners should do -1

this. notjust the man, and that l have asked my guy before.
Whoeverwants to escalate the situation should be the one to ask.
Asi<ing doesn't have to be an awkward negotiation it's a quick
exchange that takes 5 seconds and can even enhance the sexiness
of the situation instead of approaching sex as "l'|ljust push and
push and push untii my partner indicates “no" or gives in," we
should approach sex as "l reai|y want to have sex. And | also really
want my partner to want to have sex without feeling pressured.
They may not want to make the situation awkward by saying "no.”
so l'm going to ask them what they want."

  
 

 

“ This v B|ess your heart o Rep|y » o montt_\s_aviw;_r):M

 

 

 

people but in the heat of the moment most
mg people don't;'ust stop and ask. |f one person isn't feeling
the heat, it is their responsibility to take a step back. |fa
person doesn't protest, it wasn't rape because it wasn’t
forced l'm sorry if you've been through something.where
you're not sure it was rape, or maybe you know it wasn‘t
rape but still feel bad about it. That sucks. But there is a
reality to this situation |t is both partners responsibility to
be straightforwardI no matter who initiates it.
Cornmunication is key on both ends.

 

..uuuullilis._‘_ _B'ES_$. ‘{‘_?E[l‘£m ° R,@i’i¥; §.HEQYH£E§EM. m… uuu.W

madeforcommenting Why don't you hai/eto ask? Why are you assuming that we 2
want sex?

 

`Ne
Member " This ~ B|ess your heart o Reply o omonths ago

 

 

 

 

Andree Secause nonverbai cues are a rea§ity. Did you read his post? A|| 18
the signals had been for yes, and then she regrettecl it. Women
` have to be dear that they are signaling even if they aren’t verbalizing.

 

u __._..fli!i§u!.§i§§? lt?i.l.[i'§i"t ' Rep'*' ' 6 mci.r.‘.tui.'§ 350

 

¢:\" LittieLiney Basica|!y the story of how| lost my virginity. Thank you so much for writing this l 62
"` id cried myself to sleep and hated myse|ffor weeks, knowing l had no one to blame
but myself and that's a reai|y shitty feeling lt's nice to hear that someone out there
understands the gray space.

   

 

». -§hisn, mess opm heart . Repiy » 6 months agmom_mm

 

 

Adrienne Than|<s for posting this. l felt the same a out that | lost my virginity.| 0
watched a movie with this cute, nice, and rather oblivious guy at a

common area at hoste|. which then (to my surprise, frank|y) led to some kissing, and

some clothes came off. lt was really darl<, l had foo|ed around like that before

without sex, so | was in mental shock when l realized he was about to have sex with

me, with zero communication i|t was so dark that to this day, l'm not even sure if

he used a condom.)

 

   

PNM

it happened so fast, | could hardly process, but | made a choice in that moment that
itwas okay. l consented, by not saying no. |f he had asked me, it would not have
happened, but when it was happening anyway, l didn’t have the confidence to stop
him.

 

 

%s§s//%§d§%l?i§@§&elt$lnvf§§§poeenvmetleaaigetsen§l§%lsaoeeecsasstaatsegments

 

 

 

Total Sorority Move | Is it Possible That There ls Something In Between Consensual S... Page 14 of 19

it was unequivocally not rape, or even "rape-ish". (A terrible term.) But it was an

unwanteo?ohysiosny‘pamlmmmngexpenence_

So, yes. GEving consent and wanting sex are two different things l think it's a

cuitural problem that goes both ways_ Men need t_o ask, but women have to

communicate assertively, too. We can‘t have lt both ways ~ be the submissive, l
silent femalel and also get to play around sexually in exactly all the ways we want.
Fundamentai|y, this issue is a iack of communicationl

 

 

Lack of communication can't be confused with rape l fear such confusion can only
make the legal waters much rougher for sexual assault victims.

 
 

your hear

     
 

 

 

prettykitty i-lim§`ust assuming that you would want to have sex With him -2
without asking and barely knowing you is pretty "rape-ish"

New
Member * This s Bless your heart - Reo|y » 5 months ago

 

 

` Cur|yQPrincess And suddenly l feel at peace... l feel bad for saying that but it's oddly 49
` |iberating to know that l‘m not alone §n the universe here.. We must stick
together §adies!

* This ¢ Bless your heart \ Repiy - §months ago __

   

    

  

 

 

Sereoa Thani< you for writing this. 3 years ag p nced the riguawndvtmo"this day l 35
stil§ wonder how | could have done that. l don't ponder over my past as much but

this has always bothered me. l know there's not a name or label for this kind of action but it

comforts me knowing that l'm not alone in this, 'S'henk you xx `

 

" This » B|ess your heart ¢ Reply » 6 months ago

 

 

kk_lo l feel that there is a grey area. l've been in a situation where my guy rriend. who had 23
tried to take me home many times and repeatediyreceived the "l won’t-hook up with

you" response, took advantage of me We ran into each other at a bar and tie walked me

home, because l lived close. We decided to stop at his place for awhile, me reminding him

that sex wasn't going to happen One thing lead to another and before l knew what was

going on, he was inside of me through his bowers l had no idea we were even ciose to a

point where l would have to remind him no for the millionth time. There is a grey area. it's

the area where a guy has been continuously aware of your standing and ignores it. its

where he takes advantage ora situation while he has the upper hand. He had been toid no,

but because you were into hisn. he ignored it.

 

 

" this o B|ess your heart 1 Reply v dumonths ago

 

biggiesmalis‘?BB“if you were not conscious enough to knowwhat was going on or 24
going in and out of consciousness that is rape because it is not
consensuai.

 

" This - Biess your heart l Reply v 6 months ago

 

 

 

kk_lé Thank you for your concern but | was NOT ciru . was sober. l 20
was extremely tired but l was sober. He was on top of me and we

‘ had clothes on. he somehow managed to move both our undergarments

aside while l was kissing him and plunged into me. ?lease don't try to act

|i!<e that's ok.

 

Lli:tl a

“ The;§ls§o‘§v" heart ~ Bseir; 6 monies

 
 
  

 

   

drunk(as said in artic|e?)
or is it that it is both parties raped each other?
this is not about conciousness this is about her trying to stick her
indesicivness on the the other party.

'FNM

 

" This ~ B|ess_your heart v Rep|y l 1 month ago

   

 

 

blgmgm;esma||s?BS?hescenariothatis esci:ibed in the above artic eis not rape it is 1_‘1-
_. the author caring more about not wanting to "seem like a tease"
or disappointing the guy then she is her own self worth and what she wants.

    

 

§ `Lirue

q§§§/AM&YBQQM@M.WMQ§BWR§ML§&@isl§ih%@e@§h§%§~@et@@&€cb§£h§§hl-E’.UQHUZSY§

 

 

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Theres nothing wrong with respecting yourself and saying no to sex if you do not
w o s o ea a e
argument about not doing it". Women should not feel as though it is their role to
have sex with a guyjust because they are hanging out its not women's role to do
anything they don't Want to do. The above scenario is definitely a issue that needs
to be talked about but it should not be called rape at all because it invalidates
situations of rape and victims who want to speak out against their rapist with
using phrases like "why risk being wrongfuliy tagged as "the girl who cried rape".
instead the issue should have been an articie about how women should know that
they should be able to confidently say note sex because they should not feel an
obligation to do things that they do not want to do.

 

To the author: 1 know that you probabiydid not write this article with thoughts to
offend women or rape victims but you are in a position to write articies for a
website that gets a lot of attention and iwouidn't feel right not ietting you know
how your words could possibly affect others.

 

" This - B|ess your hearts Rep|y - 6 months_a or__

 

 

hdt piece o“fwi`“§i\`ii_ H§. i agreeits not rape and didn’t try to associate it with 33
rape. BU?'.The phrase "| didn’t want to have sex with

him, but l still did" associates it with rape on its own. Niy whole point was

that there lSN'T an actual word for THIS experience and women who've

had it don't want to cali it any of those things, but we're not even

acknowledging th at this type of thing happens We can’t discuss the

solution untii we acknowledge that there is a probleml And § do think it‘s

a situation of society is to biame. not the individuals

  

30.
Staff

 

_i‘___`i:i_\is \ B|ess¥y”o_{ur heart ¢ Rep|y - 6 months'ago

 

erO?eu The focus of this articie is troublingl Why do you find it so 47

( important to reaname the_neg!ect of ownership of an

urine individuai's decisions? To re-name the insecurity and perceived
inability to communicate? Do you really believe the conversation
should be about putting a new name on doing sexual things you
don't want to do, and caliing that thing rape-ish (to use your
horr§fic and offensive vocabularyi? Or do you think the
conversation should be about empowering women » heil.
empowering human beings - to take responsibility for their
decisions? To speak out for their preferences and to feel good
about doing so?

 
   

Don't get me wrong, i've been there. |'ve been sexua§ly assaulted
- coerced into committing acts l initialiy tried to physicaily and
vocaily refuse. This left me feeling broken and asharried, andrthe
onus for this situation is on the person who coerced me. There is
no ish about it. i've also had consensual sex that l did not want.
The other person and |f|irted and kissed and then had sex.The
next day l felt like shit about it, and wished l had said no. l allowed
a situation that l did not feel right about to take piace, and that
onus was on me There is no ish about it.

50, to validate the "l’m not alone'." posts_ ,, No, you're not alone
out there, Shitty Decision Maker w l can stand right alongside
you. th humans are ALL pretty good at making poor decisions
now and then. Rest assured, we have our reasons for doing so.
But why? it's important to figure out YOUR reasons. l\lie? E’m a
people-pleaser. And no, this has nothing to do with society*s
portrayal of women or my upbringing ~ my sister is pieasant|y
much more selfish. f simpiy feel best when i've helped others to
feel good. 5 now know this about myself, and no longer do this to
my own detriment i have begun creating boundaries to ensure
my happiness stays intact. l take ownership for who l am as an
adult woman.

The next time l was with a close guy friend, a few drinks in.
wanting to get my makeout and cudd|e on before passing out
next to him in bed... guess what | did? Communicateci that to him.

 

 

%t§p§/§étds%¥é?$?r§§dél*é<'iik/E%§ii’-p£§ii§itiistilr§§ré_iS-Ets@e@§é§§iitai%eeect§seir§&u-E’.aoe doors

 

 

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§And because l am not friends with assnoies or imbeciles l did not
§\~_)u»'c\_,l mm to §HJTFMEH'HT€UHTETFEIT€YFEETW_“_”
5may be let down because he would not get what he may |ike, but
that' s his fuckin’ cross to bear.

 

That concerned me in this article .. ali the talk of how you
THOUGHT things would play out. Your assumptions that you and
Matt would have a tug-o-war over whether or not to have sex
speaks volumes of your reiationship with him. You EXPECT your
so~caiied friend to give you shit about not wanting to fuck him?
You wanna check your friendships; that’s a big issue that needs
tending to. And not for one second does Matt come outta this
NOT looking like a bad guy Buti' ii make a comment about that
|ater.

The reason l original ly chose to comment was because of your
comment here in this thread... which totally goes against
leverything you have suggested in this artic|e. For you to say you
1didn’t associate your situation to rape is offensive to my
nteiiigence as a reader, Your article has'rape’ in the tit|e. You
absoiuteiy use two opposing points - consensual sex and rape -
to draw a middle iine.To do this requires comparison to the
concepts on either end, and finding compatibilities and
;differences to land you somewhere in the midd ie. if you weren't
§comparing this to rape,why did you bring up rape? Y'ou fiat-out
icaiieci this "rape-ish," but l am now supposed to accept your
§atternpt to retract the comparisons to rape? l would §il<e to think

ou believe you are speaking to other intelligent people out
lthere, so please continue to speak with that in mind. '

 

ou further comment that you making the statement “| didn't
§ ant to have sex, but § still did" automaticain leads others to
associate it with 'rape. Giri, you really gotta stop projecting your
-beiiefs and expectations as others' reality. You did it with Matt,
iand you're doing it with me as a reader. § don't think peopie going
through with shit they do not want to go through with compares
§ o rape. i think people doing things they don't want to ~ without
§cornmunication - compares to poor decision making
i
§@Yonce tried to clear th§s up by putting the responsibility on only
§one person in a relationship in advocating that the person
§advancing the situation needs to ask permission to advance...
-iAre you living in a vacuum? We need to Wake up to our
jresponsibiiities and take ownership for the things we do, and
ldon't| participate in. Where a relationship between two human
't)eings is concerned, there is EQUAL responsibility on both
!parties. inaction isjust as much of a choice as action. To use more
iioaded language: inaction is just as much consent as is action in
this case.

§Hot Piece, i belt eve you createdjust as much of a SAFE SPACE as
§i\/‘iatt created You and Matt were two able, willing adults who
imutuali iy arrived at the same point ln time Physicai contact' ls

§` ither welcome or unwelcome there` ls a yes or a no. \(ou
greicomed ali physical advances prior to sex, without
conversation Of course, talking doesn't mean cuddiing is desired,
;cuddiingdoesn't mean kissing is desired, and kissing sure as shit
doesn't mean sex is desired But Matt got beyond ta§king,
cudd|ing and then kissing. .. ali without express consent Which,

from the way the article reads, you were okay with.

»So Hot Piece... you wanted a different dynamic then the one you
`§Were both leading towar d, within the safe space you both
created? That' s on you,gir|. You want shit to change? Try to
§ch_ange it. it's not a revolutionary concept it won't help you in any
meaningful way to focus on how you didn‘t ask for what you

§wanted and thus were wronged in the process You need not

 

i

Ct+§a/hslas%¥s?i??a%zu*éuafiaepnassesseseiselsasaa@nsaaaaaaamaei-eaganesre

 

 

 

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§acknowledge the existence of a situation that is nowhere near to
_ rape as sometnlng rMm&mWfW-_”
‘lthe future. `i’ou need not victimize yourself with statements such
as "i didn’t feel l'd been violated. though part of me knew l had."

hich, by the way, leaves Matt standing in some pretty fuckin'
negative light if you felt positively about him, you were
§urlsuccessfui in your communication of that point.

ll’m not trying to take away from how you felt like shit after
§making those decisionsl But for you, me. and others to stop
[subjecting ourselves to situations like this in the future, i think we
need to acknowledge the more meaningful undertone of this
Karticie: l made a decision regarding sex that is in opposition to
§how | wish to lead my life. Why did l do that? How can l face my

 

;fears and perceptions in order to live a more authentic. and stiii
§sexualiy-p|easing. life?

 

i n law pflh~is - _B|_ess_yow heart - Reply - 6 months ago

 

Y-once Under some state law definitionsl this would be rape. in 7
these definitions the person who is advancing the sexual
relations must ASKtheir partner for consent and receive consent
before proceeding from one physical/sexual act to another. l'm_not
going to tell you how you should label or not label your experience
l'mjust saying that, under some definitions, it could be identified as
rape. What’s perhaps more important than the nitty gritty of legal
definitions of rape is how we tail< about sex, consent and
responsibility and how we approach it in real iife. lt seems like a lot
of the commenters are saying " this scenario is definitely not rape,
the woman should have indicated that she didn’t want to have `
sex." To them l ask: why is itjust the woman’s responsibility to say
no? Why isn't it the man's responsibility to ask their partner if she
_ wants to have se)<':' (Btw. this couid also be vice versa when it
comes to gender. lt'sjust that in the scenario in the article, the man
was the one making the advances.) instead of approaching sexual
relations in a way where the advancer keeps on physically pushing
their partner until they say no or give in, we shouid approach sex
as a platform of respect and mutual ENT}-§USIAST]C consent
where each partner makes sure that the other is both comfortable
and happy to go to the next level (whether that's from dancing to
kissing or kissing to cudciiing or cuddling to sex}. Affirmative,
enthusiastic consent clears up any gray areas and makes the sex
hotter because you know that both people are really into it.

 

 
 

 

mmfibe.:,§.s§§ss§.li‘ss:t:_tsi%'t:.?m°"fhssso

 

Andree You are advancing a very sca;'y definition of rape 1
, ._ here. How is consent to be proven in a court of iaw?
mg We have to remember that rape is a felony crime that

carries a prison sentence and potentially a lifetime sexual»
offender label. We cannot throw that term around l§ghtly.

Use all sort of terms to viliify "gray-area" situations. but
please be careful with that wordi

 

 

" This ¢ Bless”your heart - Rep_i_y___{ £_)__rnnl'lths ago

 

elly$‘? Yes there is its called regret 3

" This o Eiess your heart ~ Repiy » ornonths ago

 

iohnnyd There is a word for it. "lrresponsib|e". You chose to drink -2
for §3 hours and you put yourself in a situation that you

' regret You both were drunk Live and learn. Btw, there is no sich

thing as ‘rape-ish'. lt either is or it isn't. You are watering down the

 

 

Cdt§;/Aiidr§o\ibqil§?§i%'it léMsii§-§-pRQMMQi-§i%ré-i§ls§e%§i?§liéfbe£eesé&l§sr§@au?aoeipsiae rs

 

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term because you cannot accept responsibiiity for your actions
nue drinking

 

" This ~ Bless yoru'_h_ca_§t o healy ¢ 6 months ago

 

 

’éii§és' alia it s ti{é"i}iéilviéljaihai'§§éi§tv srai;c`ar`ing'§§$§t"wi§at

   

_ _ society thinks about your possibie bad decision to have a
aig ` one night stand and you won't have to regret it!

 

“‘ This 1 B|ess your heart - Reo|y - 6 months ago

 

 

De%taBelle l know it's easy to teli a random stranger that what the 16
experienced wasn't raped, but if your sister, best friend, or

' future daughter told you this story, could you tell her that she wasn't

taken advantage of? Could you tell them "l know you didn’t want to seem

like a tease, but you really should have said something."

 

" This v B|ess your heart ¢ Rep|y ¢ 6 months ago

   

Tltan284 "Yes i could. Ber.ause it's morally wrong to alter a 9

_ situation and subject someone to a warped situation that
New feeds into their own fears.. Subconsciously putting them in a

Me"‘be' vicious cycle `

" This ¢__§i_css yourheart___~ Reply ~ 6m0nih$ again M

 

 

 

' QueenV Not saying"yes, |et's have sex" l`s not rape! Consent can -6
5 _ l be given non-verbally. Consent for one thing (kissingi

ag however does not constitute as consent for another isex) and
consent can ALWAYS be revoked at anytime!

  

Vour hypothetical iS rape. But | don't see anywhere wez'e anyone
said it was... if you are unconscious it's rape.

 

__" This v Bloss your heart - Rop_iy__- o months ago__

 

DeitaBelie lfyou believe consent can be non-verbai, can -2
the revoking of consent also be non-verbai?

Personally, l would view a sexual partnerjust laying there

praying for it to be over as somebody who really did not

want to have sex. lViany young men Who have done this

aren‘t rapist, but they are uneducated lf a guy would just

ask, "Do you want to go any further?" l beiieve there would

not be so many young women who are put in this position.

 

 

" This o Biess your heth - Reply l 6 months ago

 

 

ariasummers Yes but non verbal revoking of consent is not -9
as easily interpreted as non verbal consent

" T_iiis_ _\_ _l§|ess your heas'_t__o_ _Reply v 6 months ago

 

elly&‘? Non verbal: move| stop, push the person! l'm a 6
woman and this is ridiculous stop playing defenseiess
and gsow some bal|s!

 

 

l __ * This \ B|ess your heart ¢ Repfyg_§_months ago

 

 

Wprettyki&;Thisisrape this is not“a grey area w '5

 

" This - Bless your heart v Rep|y o 5 months ago

Memher

 

 

 

 

S~ororitygiriandmother i\/ly situation is slightly“different but l don t feel it was’ra`pe or "…
consensual. i had a couple drinks and ended up bringing a guy home
with me. But lwas blacked out and don't remember the entire night. Drunl< me was
probably ready for se><. But sober me wanted to wait until l got married, i didn’t know
anything happened that night. Next thing l know it's a month later and § missed my period.
Now that i know what happened | feel violated. ! don't want to call it rape cause l fu|iy
believe that my drunk state of mind wanted to have sex. §-ie didn’t know that if l was sober l

 

 

 

qii‘&»‘°:/libtds%¥s?i%%§§iié'.*éiihh§Y-pci§§iizielts§t-Mré-iSE§is§eQ§i?gOi&~%eEieasta%Mn§@u-E.austsiooo§

 

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hivou|d have said no, But l didn’t want it and now | have to live with what happened and the

_result or tnat nlgnt. l don t reel ne oeserve's'ma'rTb‘e't_d'E'l’iFWB§'iU'me a s s lW§§. B|J`|! "
iit wasn't consensual either.
.

" Tl'liS 0 Bless your heart 0 Re;o|y l 6 months ago

 

 

`- QueenV @sororitygir|andmother. F:`rst let me start by saying that if you don't feel it 9
was rape, then it's not. You know your body and the situation best. and
therefor it's your cal|. BUT i do want other females to know that if you were

blacked out that is defined as rape. lf you or he is in a state were it’s understood

that the other is highly intoxicated then it constitutes as rape. i_adies, if you feel
violated don't brush it off by saying you were drunk Te|| someone you trust, and

talk it out.

 

i,__._.......s.

_ _ __"__ihis - B|ess your heart o Reply ¢ §mr_amo_r_§_t_hs ago _W m

 

. -_ johnnyd |fthe man was drunk aisou,"then the blame is equal. 3

t Th|s ~ Biess your heart o Repiy » 6 months ago

 

Lii:ertyAndCompetition made an accountjust to comment here 20

As a brother, boyfriend, and a gentleman, this issue has had me conflicted with myself as a
man, and a brother and alumni of my fraternity. l’ve seen_women "cry»woif" and often
gotten angry. thinking how real a possibility it would be that this could sink myse|f, rny
brothers, or my fraternity as a whole. but i’ve also heard my sister, glr|friend, and female
friends relate experiences where they felt they had sex unconsensually. This is probably the
fairest article i've seen describing it. l'm sorry you and others who commented had to
experience that, and i'm grateful that your level-headed enough to see him notes the
villain. there is a middle ground between rape and consensual sex. and that's something
both men and women need to realize.

 

 

_"WT__his c l_?:l§s_s" your heart 0 Eep!y \ 6 lnonth_s__ago__ _W

         

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Csa§/iai;h%n% Oa%u.*étsaa -po%sareissi,aasiSEithai?gQasasasa@aaaaa.eagapasse

